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                    United States District Court
                             CIVIL MINUTES - GENERAL

Case No.: 4:19cv300-RH/CAS                                         Date: October 7-8, 2019

                    KELVIN LEON JONES et al. v. RON DESANTIS et al.

DOCKET ENTRY:         Preliminary Injunction Hearing Held

Ruling by Court: Motion for Leave to File Amicus Brief is granted. Motion in Limine is denied.
Motion for Preliminary Injunction will be ruled on in a forthcoming order. No class certification
response is due until ruling on preliminary injunction. Once the ruling on preliminary injunction
has been rendered, Plaintiff has one week to adhere to or reform the proposed class. Defense will
then have three weeks to respond. Leave is granted to amend the complaint. Plaintiffs have three
weeks (until October 29) to file. Trial will be set for April 6, 2020. An order will follow.


PRESENT: ROBERT L. HINKLE, U.S. DISTRICT JUDGE

        Cindy Markley                                             Judy Gagnon
         Deputy Clerk                                             Court Reporter


Attorneys for Plaintiffs:                       Attorneys for Defendants:
Julie Ebenstein                                 Nicholas Primrose
Nancy Abudu                                     Mohammad Jazil
Sean Morales-Doyle                              Gary Perko
Leah Aden                                       Bradley McVay
R. Orion Danjuma                                Oren Rosenthal
Danielle Lang                                   Mark Herron
Mark Gaber                                      George Meros
Jonathan Diaz                                   Tara Price
Eliza Sweren-Becker                             Ashley Davis
Daniel Tilley                                   Robert Swain
John Cusick
Jennifer Holmes
Jimmy Midyette
Molly Danahy
Jonathan Topaz
Pietro Signoracci
David Giller
Caren Short
______________________________________________________________________________
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PROCEEDINGS:

Day 1 – October 7, 2019

9:01  Court in session
      All exhibits tendered and included on the record are admitted
      Motion for Leave to File Amicus Brief is GRANTED
      Motion in Limine is DENIED
9:03 Plaintiff opening statement (Ebenstein)
9:09 Defense opening statement (Primrose)
9:15 Defense continued opening statement (Jazil)
9:22 Plaintiff Witness:
             Lee Hoffman – sworn, direct (Diaz)
9:33 Cross examination (Meros)
9:34 Plaintiff Witness:
             Daniel A. Smith – sworn, direct (Ebenstein)
10:24 Cross examination (Perko)
10:58 Court in recess

11:15 Court in session
11:16 Plaintiff Witness:
              Shannon Cash-Russell – sworn, direct (Morales-Doyle)
1:50 Cross examination (Meros)
12:03 Re-direct (Morales-Doyle)
12:14 Court in recess

1:16   Court in session
       Plaintiff Witness:
               Rosemary McCoy – sworn, direct (Abudu)
1:26   Cross examination (Meros)
1:30   Plaintiff Witness:
               Raquel Wright – sworn, direct (Aden)
1:45   Statement to the Court by Defense (Meros)
1:50   Statement to the Court by Defense (Jazil)
1:54   Plaintiff Witness:
               Betty Riddle – sworn, direct (Topaz)
2:04   Plaintiff Witness:
               Clifford Tyson – sworn, direct (Sweren-Becker)
2:19   Plaintiff Witness:
               Mark Earley – sworn, direct (Danjuma)
2:37   Cross examination (Meros)
2:42   Continued cross examination (Rosenthal)
2:45   Re-direct (Danjuma)
2:51   Plaintiff rests
2:53   Court in recess

3:09   Court in session
3:10   Court in recess
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Day 2 – October 8, 2019

8:07  Court in session
8:08  Closing Argument by Plaintiff (Lang)
8:29  Continued Closing Argument by Plaintiff (Danjuma)
8:42  Continued Closing Argument by Plaintiff (Abudu)
8:49  Closing Argument by Defense (Jazil)
9:31  Continued Closing Argument by Defense (Rosenthal)
9:37  Continued Closing Argument by Defense (Jazil)
9:38  Rebuttal by Plaintiff (Danjuma)
9:50  Continued Rebuttal by Plaintiff (Lang)
9:58  Ruling by Court: Ruling on preliminary injunction will not be announced today.
10:10 Court addresses parties regarding scheduling issues.
10:13 Statement by Plaintiff regarding class certification (Gaber)
10:14 Statement by Defense regarding discovery (Price)
10:18 Ruling by Court: No class certification response is due until ruling on preliminary
      injunction. Once the ruling on preliminary injunction has been rendered, Plaintiff has
      one week to adhere to or reform the proposed class. Defense will then have three weeks
      to respond. Leave is granted to amend the complaint. Plaintiffs have three weeks to file.
      Trial will be set for April 6, 2020. An order will follow.
10:29 Court adjourned




                                                                  Initials of Clerk: ckm
